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 10                      UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 11
 12
 13
 14   JENNY LISETTE FLORES, et al.,             Case No. 2:85-cv-4544-DMG

 15                                             [PROPOSED] BRIEF OF THE
                             Plaintiffs,        STATES OF CALIFORNIA,
 16                                             MASSACHUSETTS,
                  v.                            CONNECTICUT, DELAWARE,
 17                                             DISTRICT OF COLUMBIA,
      WILLIAM P. BARR, Attorney General         HAWAII, ILLINOIS, MARYLAND,
 18   of the United States, et al.,             MICHIGAN, MINNESOTA, NEW
                                                JERSEY, NEW MEXICO, NEW
 19                         Defendants.         YORK, NORTH CAROLINA,
                                                OREGON, PENNSYLVANIA,
 20                                             RHODE ISLAND, VERMONT,
                                                VIRGINIA, AND WASHINGTON
 21                                             AS AMICI CURIAE IN SUPPORT
                                                OF PLAINTIFFS’ APPLICATION
 22                                             FOR TEMPORARY
                                                RESTRAINING ORDER
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  1                                    INTRODUCTION
  2         Amici curiae the States of California, Massachusetts, Connecticut, Delaware,
  3   District of Columbia, Hawaii, Illinois, Maryland, Michigan, Minnesota, New
  4   Jersey, New Mexico, New York, North Carolina, Oregon, Pennsylvania, Rhode
  5   Island, Vermont, Virginia, and Washington (Amici States) respectfully submit this
  6   proposed brief in support of Plaintiffs’ Application for a Temporary Restraining
  7   Order (TRO Application). The TRO Application and countless media reports detail
  8   the deplorable and inhumane conditions in which the federal government is
  9   currently holding vulnerable immigrant children who are in Customs and Border
 10   Protection (CBP) custody in the El Paso and Rio Grande Valley Border Patrol
 11   Sectors at, or near, the border. Children are being held in extremely cold facilities,
 12   denied access to basic needs such as adequate and sufficient food, drinking water,
 13   emergency medical care, soap, showers, toothbrushes and clean clothing, deprived
 14   of sleep, and tasked to care for other very young children. The Court’s immediate
 15   intervention is necessary to prevent further harm to these children by compelling
 16   the federal government to comply with its legal obligations to hold children in safe
 17   and sanitary conditions.
 18         For more than two decades, the federal government has been required to
 19   meet minimum standards for the facilities in which immigrant children may be
 20   confined. These minimum standards, established in the Flores Settlement
 21   Agreement, require, among other things, that the federal government place children
 22   in border facilities that are safe and sanitary and make every effort to release
 23   children or otherwise promptly transfer children to state-licensed facilities.
 24         The federal government must be immediately compelled to comply with its
 25   legal obligations to immigrant children under the Flores Settlement Agreement and
 26   principles of substantive due process. The harm caused to these children will have
 27   long-lasting effects well beyond the time of their release from CBP facilities.
 28

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  1                             STATEMENT OF INTEREST
  2         Amici States have a substantial interest in protecting immigrant children who
  3   reside or will come to reside within our borders and ensuring that they are treated
  4   humanely and in accordance with the principles embodied in the Flores Settlement
  5   Agreement and the U.S. Constitution. Every year, thousands of immigrant children
  6   are released from immigration detention and reunified with family members or
  7   other adult sponsors who are residents of the Amici States.1 These children become
  8   members of our communities, attend our schools, and, in some cases, grow into
  9   adults raising their own families in Amici States.
 10         For decades, the Flores Settlement Agreement has set minimum standards
 11   for the facilities in which immigrant children may be confined, including
 12   requirements that these children be placed in safe and sanitary facilities while in
 13   CBP custody. The federal government is clearly failing to meet its legal obligations
 14   and in doing so is causing long-lasting physical and mental harm to vulnerable
 15   children, which will in turn make it more difficult for the Amici States to provide
 16   for the health, education, and well-being of children who come to reside in our
 17   communities.
 18         Therefore, Amici States vigorously object to the federal government’s
 19   despicable and inhumane treatment of immigrant children at border holding
 20   facilities. For the following reasons, Amici States urge the Court to grant
 21   Plaintiffs’ application for a temporary restraining order.
 22
 23
 24
 25
            1
              For example, the Office of Refugee Resettlement (ORR) released 4,655
 26   children to family members and other sponsors in California in Fiscal Year 2018.
      See U.S. Dep’t of Health & Human Services, Office of Refugee Resettlement,
 27   Unaccompanied Alien Children Released to Sponsors by State (last visited July 9,
      2019), https://www.acf.hhs.gov/orr/resource/unaccompanied-alien-children-
 28   released-to-sponsors-by-state.

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  1                                       ARGUMENT
  2   I.   THE FEDERAL GOVERNMENT’S ACTIONS VIOLATE THE
           FLORES SETTLEMENT AGREEMENT BY RE-ESTABLISHING
  3        THE INTOLERABLE PRE-FLORES CONDITIONS.
  4        A.   The Flores Settlement Agreement’s Requirements Are Designed
                to Ensure Humane Treatment of Children in Immigration
  5             Custody.
  6         The Flores Settlement Agreement (Settlement Agreement) is the guiding
  7   document applicable to all immigrant children in federal government custody. In
  8   accordance with its “general policy favoring release,” the Settlement Agreement
  9   requires that detained children be placed “in the least restrictive setting appropriate
 10   to the minor’s age and special needs” and be released “without unnecessary delay”
 11   to a parent, guardian, adult relative, adult designated by the parent, a licensed
 12   program, or another adult deemed appropriate, so long as continued detention is not
 13   necessary to secure the child’s timely appearance at their immigration hearing or to
 14   ensure the child’s safety or the safety of others. Settlement Agreement at ¶¶ 11, 14.
 15   Children who cannot be immediately released to a family member or other sponsor
 16   must be placed in non-secure, state-licensed facilities. Id. at ¶¶ 6, 12, 19.
 17         To ensure that the federal government treats all children in its custody with
 18   “dignity, respect and special concern for their particular vulnerability as minors,”
 19   the Settlement Agreement sets forth minimum standards for the detention, release,
 20   and treatment of children in federal custody, including children being held
 21   temporarily in CBP facilities. Among other requirements, the Settlement
 22   Agreement requires that CBP facilities holding children must be “safe and sanitary”
 23   and “consistent with the [federal government’s] concern for the particular
 24   vulnerability of minors.” Id. at ¶12. Facilities must provide children access to
 25   toilets and sinks, drinking water and food, medical assistance if the child is in need
 26   of emergency services, adequate temperature control and ventilation, adequate
 27   supervision, and contact with family members who were detained with the child.
 28   Id. Unaccompanied children must be held separately from unrelated adults, unless

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  1   segregation is not immediately possible, but under no circumstances may these
  2   children be detained for more than 24 hours with an unrelated adult. Id.
  3         The Settlement Agreement’s core purpose is to ensure that all children in
  4   federal custody are treated with dignity and respect and housed in safe and sanitary
  5   facilities. In fact, the minimum standards set forth in the Settlement Agreement,
  6   which the federal government expressly agreed to, were a direct response to the
  7   federal government’s previous systemic failure to provide safe and appropriate
  8   facilities and services for children in its care. Prior to the approval of the
  9   Settlement Agreement, immigrant children held in federal custody were subjected
 10   to deplorable conditions of confinement. Children were placed in detention centers
 11   with barbed-wire fences; deprived of education, recreation, and visitation; subjected
 12   to arbitrary strip searches; and comingled with unrelated adults. Reno v. Flores,
 13   507 U.S. 292, 327-328 (1993) (Stevens, J., dissenting). The federal government’s
 14   continued failure to hold children in facilities that are safe and sanitary thus violates
 15   the Settlement Agreement by once again depriving children in federal custody of
 16   basic necessities and reverting back to systematic conditions similar to, or arguably
 17   worse than, those that gave rise to the Flores litigation.
 18        B.     CBP is Holding Children in Terrible Conditions in Violation of
                  the Flores Settlement Agreement.
 19
            The dire and cruel conditions in the CBP facilities in the El Paso and Rio
 20
      Grande Valley Border Patrol Sectors are a clear violation of the federal
 21
      government’s legal obligations under the Settlement Agreement. The TRO
 22
      Application and numerous news reports have described the inhumane and unsafe
 23
      conditions under which the federal government is holding immigrant children in
 24
      CBP custody. According to these reports, attorneys who recently visited the CBP
 25
      facility in Clint, Texas, in the El Paso sector, found at least 250 infants, children
 26
      and teens being held at the facility, some for nearly a month.2 Some of the children
 27
            2
                Cedar Attanasio et al., Lawyers: 250 children held in bad conditions at
 28

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   1   had not showered or bathed or been given a clean change of clothes since arriving
   2   at the facility, and they had inadequate access to soap and toothbrushes.3 Children
   3   were filthy and wearing clothes covered in bodily fluids, including urine.4 They
   4   were being given insufficient food, and were forced to sleep on cold concrete
   5   floors.5 At least 15 children at the facility had the flu, and 10 more were being held
   6   in medical quarantine.6 Children as young as seven or eight years old were being
   7   asked to care for toddlers they just met.7 And some children who arrived with a
   8   parent or non-parent relative have been separated from their adult caregiver. TRO
   9   Application, ECF No. 569-2, Ex. 3 at ¶ 3.8 Similar conditions have been found at
 10    other CBP facilities in the El Paso and Rio Grande Valley Border Patrol Sectors.9
 11    Texas border, AP News (June 20, 2019),
       https://www.apnews.com/a074f375e643408cb9b8d1a5fc5acf6a.
 12           3
                Lizzie O’Leary, ‘Children Were Dirty, They Were Scared, and They Were
 13    Hungry’, The Atlantic (June 25, 2019),
       https://www.theatlantic.com/family/archive/2019/06/child-detention-centers-
 14    immigration-attorney-interview/592540/; Isaac Chotiner, Inside a Texas Building
       Where The Government Is Holding Immigrant Children, The New Yorker (June 22,
 15    2019), https://www.newyorker.com/news/q-and-a/inside-a-texas-building-where-
       the-government-is-holding-immigrant-children.
 16           4
                Lizzie O’Leary, ‘Children Were Dirty, They Were Scared, and They Were
       Hungry’, supra note 3.
 17           5
                Isaac Chotiner, Inside a Texas Building Where The Government Is Holding
 18    Immigrant Children, supra note 3.
              6
                Cedar Attanasio et al., Attorneys: Texas border facility is neglecting
 19    migrant kids, AP News (June 21, 2019),
       https://www.apnews.com/46da2dbe04f54adbb875cfbc06bbc615.
 20           7
                Lizzie O’Leary, ‘Children Were Dirty, They Were Scared, and They Were
 21    Hungry’, supra note 3.
              8
                Cedar Attanasio et al., supra note 6.
 22           9
                A physician who was granted access to the Ursula facility in McAllen,
 23    Texas, the largest CBP detention center in the country, found similarly disturbing
       conditions at the facility, including “extreme cold temperatures, lights on 24 hours a
 24    day, no adequate access to medical care, basic sanitation, water, or adequate food.”
       Teen mothers in custody were not able to wash their children’s bottles, and children
 25    older than 6 months were not provided age-appropriate food. A flu outbreak at the
       facility led to five infants being hospitalized. Serena Marshal, et al., Doctor
 26    compares conditions for unaccompanied children at immigrant holding centers to
       ‘torture facilities’, ABC News (June 23, 2019),
 27    https://abcnews.go.com/Politics/doctor-compares-conditions-immigrant-holding-
       centers-torture-facilities/story?id=63879031.
 28

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   1   In fact, a report by the Office of the Inspector General for the Department of
   2   Homeland Security (DHS) published on July 2, 2019, urged DHS “to take
   3   immediate steps to alleviate dangerous overcrowding and prolonged detention of
   4   children and adults in the Rio Grande Valley.”10 The report specifically found that
   5   32% of children in this sector had been held for longer than the 72 hours allowed by
   6   the Settlement Agreement, that many children had not been provided access to
   7   showers, clean clothes, or hot meals, and that some children were being held in
   8   closed cells.11
   9         This Court has already twice found that conditions such as those at the CBP
 10    facilities in the El Paso and Rio Grande Valley Border Patrol Sectors violate the
 11    Settlement Agreement’s “safe and sanitary” standard. The Court’s July 24, 2015
 12    order held that “the widespread and deplorable conditions” in CBP facilities—
 13    including extremely cold holding cells with only mylar blankets for warmth,
 14    overcrowded holding rooms with 100 or more unrelated adults and children who
 15    were forced to sleep standing up or not at all, and inadequate nutrition and
 16    hygiene—were a material breach of the Settlement Agreement’s requirement that
 17    the federal government provide “safe and sanitary” holding cells for children while
 18    they are in temporary custody. In Chambers – Order re Pls.’ Mot. to Enforce
 19    Settlement of Class Action and Defs.’ Mot. to Amend Settlement Agreement, No.
 20    2:85-cv-4544-DMG-AGR (C.D. Cal. July 24, 2015), ECF No. 177. On June 27,
 21    2017, the Court again found that the unsafe and unsanitary conditions at CBP
 22    facilities in the Rio Grande Valley Border Patrol Sector—cold temperatures;
 23    inadequate food, sleeping conditions, and hygiene products (no soap, no change of
 24    clothes, no pillows or blankets, and no toothbrushes); and a lack of access to clean
 25
             10
 26              U.S. Dep’t of Homeland Security, Office of the Inspector General,
       Management Alert – DHS Needs to Address Dangerous Overcrowding and
 27    Prolonged Detention of Children and Adults in the Rio Grande Valley, OIG-19-51,
       at 1 (July 2, 2019) (emphasis added).
 28           11
                 Id. at 3, 6.

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   1   drinking water—were a violation of the Settlement Agreement. In Chambers –
   2   Order re Pls.’ Mot. To Enforce and Appoint a Special Monitor, No. 2:85-cv-4544-
   3   DMG-AGR (C.D. Cal. June 27, 2017), ECF No. 363. The Court specifically found
   4   that hygiene products such as soap, towels, showers, dry clothing, and toothbrushes
   5   fell within the rubric of the Settlement Agreement’s safe and sanitary standard. Id.
   6   at 13. Yet, despite the Court’s repeated findings that these conditions are unsafe
   7   and unsanitary in violation of the Settlement Agreement, the federal government
   8   continues to hold vulnerable children under these same inhumane conditions in
   9   complete disregard for the children’s health, safety, and well-being.
 10    II.   THE FEDERAL GOVERNMENT’S CONTRAVENTION OF THE
             FLORES SETTLEMENT AGREEMENT IMPLICATES
 11          FUNDAMENTAL DUE PROCESS CONCERNS.
 12          Enforcement of the Settlement Agreement in this instance is all the more
 13    critical because of the vital constitutional interests at stake. The basic safeguards
 14    that this Court put into place to protect the well-being of children in federal custody
 15    also protect these children’s fundamental liberty interests, as enshrined in the Fifth
 16    Amendment’s Due Process Clause. “[W]hen the State . . . so restrains an
 17    individual’s liberty that it renders him unable to care for himself, and at the same
 18    time fails to provide for his basic human needs—e.g., food, clothing, shelter,
 19    medical care, and reasonable safety—it [violates] . . . the Due Process Clause.”
 20    DeShaney v. Winnebago Cty. Dep’t of Soc. Servs., 489 U.S. 189, 200 (1989). This
 21    is as true for children as it is for adults. See, e.g., In re Gault, 387 U.S. 1, 13 (1967)
 22    (“[N]either the Fourteenth Amendment nor the Bill of Rights is for adults alone.”);
 23    Bolling v. Sharpe, 347 U.S. 497, 500 (1954) (finding deprivation of a Fifth
 24    Amendment liberty interest when children were segregated in Washington, D.C.
 25    schools). By enforcing the Settlement Agreement in this instance, the Court would
 26    also protect the constitutional rights of vulnerable migrant children whose health,
 27    safety, and well-being are being actively and acutely compromised by the federal
 28    government’s practices and policies.

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   1
             Plaintiffs have carefully documented that children are being detained by the
   2
       federal government in deplorable conditions that are comparable to “torture
   3
       facilities.” TRO Application at 3, 4-14, 17. In such circumstances, fundamental
   4
       due process concerns are paramount. In the context of adults in a CBP detention
   5
       center, an Arizona district court recently addressed the constitutionality of similarly
   6
       unsafe and unsanitary conditions, including “deprivation of sleep, of hygienic and
   7
       sanitary conditions, of adequate medical screening and care, of adequate food and
   8
       water, and of warmth.” Unknown Parties v. Johnson, No. CV-15-00250-TUC-
   9
       DCB, 2016 WL 8188563, at *1 (D. Ariz. Nov. 18, 2016), aff'd sub nom. Doe v.
 10
       Kelly, 878 F.3d 710 (9th Cir. 2017). Recognizing that such conditions likely
 11
       violated due process requirements, the court issued a preliminary injunction that
 12
       required CBP to ensure availability of hygienic items and bedding materials,
 13
       provide adequate medical care, and monitor the facility’s temperature and
 14
       cleanliness. See id. at *15-16. The TRO Application presents an almost identical
 15
       list of deprivations. The only difference is that the affected class consists of
 16
       vulnerable and defenseless children, which renders the deprivations even more
 17
       shocking and inhumane.
 18
             Notably, the deprivations at issue here would likely not pass constitutional
 19
       muster even if they were applied to adults convicted of crimes. Under the Eighth
 20
       Amendment, “[prisons] must provide humane conditions of
 21
       confinement[, including] . . . adequate food, clothing, shelter, and medical care . . .
 22
       .” Farmer v. Brennan, 511 U.S. 825, 832 (1994).12 The inadequate hygienic
 23
       supplies, medicine, sanitation, water, food, temperatures, sleeping conditions, and
 24
 25          12
                The Due Process Clause provides protections “at least as great” as those
       the Eighth Amendment guarantees to convicted prisoners. City of Revere v. Mass.
 26    Gen. Hosp., 463 U.S. 239, 244 (1983); see also Youngberg v. Romeo, 457 U.S. 307,
       315-16 (1982) (“If it is cruel and unusual punishment to hold convicted criminals in
 27    unsafe conditions, it must be unconstitutional [under the Due Process Clause] to
       confine the involuntarily committed—who may not be punished at all—in unsafe
 28    conditions.”).

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   1   medical care documented by Plaintiffs would raise serious constitutional questions
   2   under that standard. See, e.g., Foster v. Runnels, 554 F.3d 807, 812-15 (9th Cir.
   3   2009) (inadequate food violates Eighth Amendment); Hoptowit v. Spellman, 753
   4   F.2d 779, 783-84 (9th Cir. 1985) (inadequate plumbing and cleaning supplies both
   5   produce unhygienic conditions that violate Eighth Amendment); Martino v. Carey,
   6   563 F. Supp. 984, 999-1002 (D. Or. 1983) (overcrowding and inadequate clothing,
   7   sanitation, and heating violate Eighth Amendment). In other words, the federal
   8   government is civilly detaining innocent children in conditions like those that
   9   courts have declared unconstitutionally cruel and unusual for adults imprisoned for
 10    committing crimes. Swift and strict enforcement of the Settlement Agreement is
 11    necessary to address this constitutionally repugnant situation.
 12          Additional constitutional concerns are raised by the forcible separation of
 13    children from their parents or relative caretakers and the indefinite detention of
 14    these children apart from these caretakers. The integrity of the family unit is
 15    protected by fundamental due process principles. Stanley v. Illinois, 405 U.S. 645,
 16    651 (1972). Indeed, “the right of family members to live together[] is part of the
 17    fundamental right of privacy.” Halet v. Wend Inv. Co., 672 F.2d 1305, 1311 (9th
 18    Cir. 1982). Familial liberty interests may extend beyond parent-child relationships
 19    to non-parent relatives, especially when such relatives take on a primary caretaking
 20    role. See Moore v. City of East Cleveland, 431 U.S. 494, 505 (1977) (“Decisions
 21    concerning childrearing, which . . . other cases have recognized as entitled to
 22    constitutional protection, long have been shared by grandparents or other relatives
 23    who occupy the same household—indeed who may take on major responsibility for
 24    the rearing of the children.”). Thus, the practice of forcibly separating children
 25    from their parents or relative caretakers in civil detention facilities without any
 26    finding of parental unfitness or danger to a child likely violates due process
 27    principles. Ms. L. v. ICE, 302 F. Supp. 3d 1149, 1167 (S.D. Cal. 2018).
 28          In a substantive due process claim challenging executive action, “the

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   1
       threshold question is whether the behavior of the governmental officer is so
   2
       egregious, so outrageous, that it may fairly be said to shock the contemporary
   3
       conscience.” Cty. of Sacramento v. Lewis, 523 U.S. 833, 847 n.8 (1998). It is
   4
       difficult to imagine a circumstance more shocking to the contemporary conscience
   5
       than children as young as infants being needlessly deprived of warmth, basic
   6
       hygiene, medical attention, food, sleep, and the comfort of their loved ones.
   7
       Indeed, the public outcry over the conditions faced by migrant children in recent
   8
       weeks demonstrates widespread alarm and dismay—across the political spectrum
   9
       and from all walks of life—at the Flores violations documented by Plaintiffs here.13
 10
       Enforcement to remedy these circumstances is necessary to bring these facilities
 11
       into compliance with not only the Settlement Agreement, but also basic principles
 12
       of due process and human decency.
 13
       III. IMMEDIATE INJUNCTIVE RELIEF IS NECESSARY TO
 14         PREVENT FURTHER HARM TO CHILDREN.
 15         A.    The Federal Government’s Actions are Causing Long-Term
                  Harm to Vulnerable Children.
 16
             Experts have repeatedly warned the federal government that “[c]onditions in
 17
       U.S. detention facilities,” like those described in the TRO Application, “which
 18
       include forcing children to sleep on cement floors, open toilets, constant light
 19
       exposure, insufficient food and water, no bathing facilities, and extremely cold
 20
 21
             13
 22             Media reports clearly attest to this public outcry. See, e.g., Cedar
       Attanasio et al, Lawmakers Decry Perilous Federal Lockups for Migrant Kids, AP
 23    News (June 21, 2019),
       https://www.apnews.com/7a411d9df0c1453e966287e6fe727616; Editorial,
 24    America Should Be Horrified by This, Wash. Post (June 24, 2019),
       https://www.washingtonpost.com/opinions/america-should-be-horrified-at-
 25    this/2019/06/24/489e1866-96be-11e9-830a-
       21b9b36b64ad_story.html?noredirect=on&utm_term=.3ee7d7d59777; Editorial,
 26    Border Policy Is Debatable. Soap for Migrant Children Shouldn’t Be, Hous. Chron.
       (June 25, 2019),
 27    https://www.houstonchronicle.com/opinion/editorials/article/Border-policy-is-
       debatable-Soap-for-migrant-14049027.php.
 28

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   1   temperatures, are traumatizing for children.”14 In fact, the pediatrician who
   2   evaluated 39 children at CBP facilities reported that children she examined
   3   “showed symptoms of trauma.” TRO Application, ECF No. 569-2, Ex. 13 at ¶ 13.
   4         Due to the harm caused to children held in these facilities, the American
   5   Academy of Pediatrics issued a Policy Statement on the Detention of Immigrant
   6   Children, which states “that detention or the separation of families for purposes of
   7   immigration enforcement or management are never in the best interest of
   8   children.”15 Detention puts children “at risk of exploitation and abuse, denies them
   9   access to meaningful health care, and harms their ability to play and learn.
 10    Detained children experience acute mental trauma that will have long-term health
 11    consequences.”16 Furthermore, the TRO Application evidences how the federal
 12    government’s improper separation of children from family members is causing
 13    additional harm. TRO Application at 12, ECF. No. 569-2, Ex. 2 at ¶¶ 3-4; Ex. 3 at
 14    ¶¶ 3, 5-6; Ex. 8 at ¶ 5; Ex. 9 at ¶ 6. “‘Children are at risk of suffering great
 15    emotional harm when they are removed from their loved ones.’” Ms. L. v. ICE, 310
 16    F. Supp. 3d 1133, 1147 (S.D. Cal. 2018) (citing expert evidence).
 17          The harm caused by the deplorable and inhumane conditions at CBP
 18    facilities and lack of adequate medical care is evidenced by the multiple child
 19    deaths in CBP custody since December 2018. In December 2018, a 7-year-old girl
 20    and an 8-year-old boy, both from Guatemala, died in CBP custody in the El Paso
 21    Sector.17 In May 2019, a 16-year-old Guatemalan child died while in CBP custody
 22          14
                 Colleen Kraft, American Association of Pediatrics Statement Opposing the
       Border Security and Immigration Reform Act, Am. Ass’n. of Pediatrics (June 15,
 23    2018), https://www.aap.org/en-us/about-the-aap/aap-press-
       room/Pages/AAPStatementOpposingBorderSecurityandImmigrationReformAct.asp
 24    x.     15
                 Linton, et al., Council on Community Pediatrics, Detention of Immigrant
 25    Children, 139 Am. Acad. of Pediatrics 1, 6 (2017) (emphasis added),
       https://pediatrics.aappublications.org/content/pediatrics/139/5/e20170483.full.pdf.
 26           16
                 Marion Hart, Why Detaining Children is Harmful, Unicef USA (June 21,
 27    2018), https://www.unicefusa.org/stories/why-detaining-children-harmful/34488.
              17
                 Chris Boyette, et al., Guatemalan boy died of flu and a bacterial infection
 28

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   1   in the Rio Grande Valley Sector.18 The federal government’s failings must be
   2   immediately addressed to prevent further harm.
   3         To prevent irreversible harms to children, the federal government is required
   4   to release children from custody “without unnecessary delay” and, for children who
   5   cannot be immediately released to a family member or other sponsor, to place them
   6   in non-secure, state-licensed facilities. Settlement Agreement at ¶¶ 6, 19. The
   7   requirement that children be placed in state-licensed facilities ensures that these
   8   children will be housed in humane conditions because the states monitor and
   9   regulate these facilities. California and other Amici States currently license and
 10    oversee children’s residential placement facilities that contract with the federal
 11    government to house immigrant children. State laws require these facilities to
 12    provide safe and sanitary conditions to children. For example, in California
 13    residential placements for children must provide “a safe, healthy, and comfortable
 14    home where he or she is treated with respect.” Cal. Welf. & Inst. Code
 15    § 16001.9(a)(1). Children in these facilities “shall […] receive adequate and
 16    healthy food, adequate clothing,” “medical, dental, vision, and mental health
 17    services,” plus “[t]oiletries and personal hygiene products,” among many other
 18    required services. Cal. Welf. & Inst. Code § 16001.9(a)(3)-(4); Cal. Code Regs. tit.
 19    22, § 84072(d)(6).
 20          The protections afforded to children by the Settlement Agreement and due
 21    process principles are designed to protect children from the very harms that the
 22    federal government is causing. Unless immediately stopped, the federal
 23
       while in US custody, autopsy shows, CNN (Apr. 2, 2019),
 24    https://www.cnn.com/2019/04/02/us/guatemala-felipe-gomez-alonzo-
       autopsy/index.html; Amir Vera, Autopsy determines 7-year-old Guatemalan girl
 25    died from sepsis while in US custody, CNN (Mar. 30, 2019),
       https://www.cnn.com/2019/03/29/us/guatemala-jakelin-caal-maquin-
 26    autopsy/index.html. CBP Sectors are found at: https://www.cbp.gov/border-
       security/along-us-borders/border-patrol-sectors.
 27           18
                 Nomaan Merchant, 5th migrant child dies after detention by US border
       agents, Associated Press (May 20, 2019),
 28    https://www.apnews.com/5a49d65213b54043825acc282830b139.

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   1   government will continue causing long-lasting harm to children held in CBP
   2   facilities.
   3         B.      Amici States Must Address the Harm these Children Experience
                     in Federal Custody Upon Their Release to our Communities.
   4
              Every year, thousands of immigrant children are welcomed into Amici States
   5
       upon their release from federal immigration custody. Amici States have a strong
   6
       interest in the well-being of immigrant children held in immigration custody,
   7
       including CBP facilities, because many of them will eventually join our
   8
       communities. For example, from October 2018 through May 2019, over 51
   9
       percent of all unaccompanied immigrant children, or 23,874 children, released from
 10
       federal immigration custody were released to adult sponsors residing in Amici
 11
       States.19
 12
              Amici States provide education and an array of services, including medical
 13
       and mental health care services, to foster the development and safeguard the well-
 14
       being of these vulnerable children and their families as they integrate themselves
 15
       into their new communities. The long-term physical and mental health harms
 16
       caused by the federal government’s actions, as detailed in the TRO Application,
 17
       will require more extensive services to the children and their families, requiring
 18
       Amici States to expend additional funds and redirect resources from other critically
 19
       needed services. Children who have suffered these harms will also require
 20
       additional supports and services in state-funded school systems. Amici States
 21
       request the Court’s intervention to limit the damage being done by the federal
 22
       government to children currently in CBP facilities and, going forward, to prevent
 23
       these kinds of long-lasting harms to children and their families from occurring in
 24
       the first instance.
 25
 26
              19
                See U.S. Dep’t of Health & Human Services, Office of Refugee
 27    Resettlement, Unaccompanied Alien Children Released to Sponsors by State (last
       visited July 9, 2019), https://www.acf.hhs.gov/orr/resource/unaccompanied-alien-
 28    children-released-to-sponsors-by-state.

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   1                                    CONCLUSION
   2         For the foregoing reasons, Plaintiffs’ ex parte application for temporary
   3   restraining order should be granted.
   4
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